Case
 Case18-17422-amc
      18-17422-amc Doc
                    Doc  5393-2
                              FiledFiled
                                     06/04/19
                                         06/30/23
                                                Entered
                                                   Entered
                                                         06/04/19
                                                            06/30/23
                                                                  10:04:49
                                                                     12:16:02
                                                                            Desc
                                                                               Desc
                                                                                 Main
                Exhibit - Court-Approved
                             Document Stipulation
                                             Page 1 of 1 Page 1 of 3




                    4th       June
             .xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx The Settlement is doc. no.52.
Case
 Case18-17422-amc
      18-17422-amc Doc
                    Doc  5293-2
                              FiledFiled
                                     05/31/19
                                         06/30/23
                                                Entered
                                                   Entered
                                                         05/31/19
                                                            06/30/23
                                                                  19:45:53
                                                                     12:16:02
                                                                            Desc
                                                                               Desc
                                                                                 Main
                Exhibit - Court-Approved
                             Document Stipulation
                                             Page 1 of 2 Page 2 of 3
Case
 Case18-17422-amc
      18-17422-amc Doc
                    Doc  5293-2
                              FiledFiled
                                     05/31/19
                                         06/30/23
                                                Entered
                                                   Entered
                                                         05/31/19
                                                            06/30/23
                                                                  19:45:53
                                                                     12:16:02
                                                                            Desc
                                                                               Desc
                                                                                 Main
                Exhibit - Court-Approved
                             Document Stipulation
                                             Page 2 of 2 Page 3 of 3
